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Fill in this information to identify your case

UNITED STATES BANKRUPTCY COURT DISTRICT OF COLORADO

Debtor 1: Jackie Wayne Dugger                                             Case #
              First Name         Middle Name           Last Name

Debtor 2:                                                                 Chapter 13
              First Name         Middle Name           Last Name

Local Bankruptcy Form 3015-1.1
 Chapter 13 Plan
Including Valuation of Collateral and Classification of Claims


Complete applicable sections. This chapter 13 plan dated 2/11/20 [month/day/year] supersedes all previously filed
plans.


Part 1     Notices
  1.1.   To Creditors: THIS PLAN MAY MODIFY YOUR RIGHTS. If you oppose any provision of the plan you must file a
         written objection with the Court by the deadline fixed by the Court. (Applicable deadlines given by separate
         notice.) If you do not file a timely objection, you will be deemed to have accepted the terms of the plan, which may
         be confirmed without further notice or hearing. Creditors must file timely proofs of claim in order to receive the
         applicable payments.
  1.2    Nonstandard provisions
              This plan contains nonstandard provisions, set out in Part 12 of the plan.
  1.3.   Motions for Valuation of Collateral and Determination of Secured Status under 11 U.S.C. § 506
              This plan contains a motion for valuation of personal property collateral and determination of secured status
              under 11 U.S.C. § 506. Additional details are provided in Part 7.4 of this plan.
              The debtor is requesting a valuation of real property collateral and determination of secured status under 11
              U.S.C. § 506 by separate motion. Additional details are provided in Parts 7.3 and/or Part 7.4 of this plan.
              Status of motion:

              [list status of motion here (i.e. date filed, date granted, to be filed contemporaneously, etc.)]
  1.4.   Motions for Lien Avoidance 11 U.S.C. § 522(f)
              The debtor is requesting avoidance of a judicial lien or nonpossessory, non-purchase-money security interest
              under 11 U.S.C. § 522(f) by separate motion. Additional details are provided in Part 10.4 of this plan. Status of
              motion:

              [list status of motion here (i.e. date filed, date granted, to be filed contemporaneously, etc.)]

Part 2     Background Information
  2.1    Prior bankruptcies pending within one year of the petition date for this case:
         Case number & Chapter                      Discharge or dismissal/conversion                     Date
               19-15322 13                                           Dismissed                         01/24/2020
  2.2    Discharge: The debtor(s):
                               is eligible for a discharge;
                            OR
                               is not eligible for a discharge and is not seeking a discharge.
  2.3    Domicile & Exemptions:

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          Prior states of domicile:
            within 730 days
            within 910 days
          The debtor is claiming exemptions available in the          state of CO [state] or    federal exemptions.
  2.4     Domestic Support: The debtor owes or anticipates owing a Domestic Support Obligation as defined in 11 U.S.C.
          § 101(14A). Notice shall be provided to these parties in interest:
           A. Spouse/Parent:

              [Identify]
           B. Government:

              [Identify]
           C. Assignee or Other:

               [Identify]
           D. The Debtor has provided the Trustee with the address and phone number of the Domestic Support
               Obligation recipient, or cannot provide the address or phone number because it/they is/are not available.
  2.5     Median Income: The current monthly income of the debtor, as reported on Official form 122C-1 or 122C-2, as
          applicable, is below, equal to, or above the applicable median income

Part 3      Plan Analysis
  3.1     Total Debt Provided for under the Plan and Administrative Expenses

           A. Total Priority Claims (Class One)
                    1.     Unpaid attorney's fees                                                               $        4,082.00
                           (total attorney's fees are estimated to be $ 4,100.00 [amount] of which
                           $ 18.00 [amount] has been prepaid)
                    2.     Unpaid attorney's costs (estimated)                                                  $              0.00
                    3.     Total taxes                                                                          $             0.00
                           (Federal $0.00 [amount]; State $0.00 [amount]; Other $0.00 [amount])
                    4.     Other priority claims                                                                $            0.00
           B. Total of payments to cure defaults (Class Two)                                                    $            0.00
           C. Total payment on secured claims (Class Three)                                                     $       18,696.71
           D. Total of payments on unsecured claims (Class Four)                                                $          443.29
           E. Sub-Total                                                                                         $       23,220.00
           F. Total trustee's compensation (10%) of debtor's payments)                                          $        2,580.00
           G. Total debt and administrative expenses                                                            $       25,800.00
  3.2     Reconciliation with Chapter 7
          A. The net property values set forth below are liquidation values rather than replacement values. The
             replacement values may appear in Class Three of the plan.

          B. Assets available to Class Four unsecured creditors if Chapter 7 filed:

                   1.     Value of debtor's interest in non-exempt property                                     $           75.00

           Property                Value        Less costs of        Less liens    X Debtor's           Less          = Net value
                                                    sale                            interest         exemptions
        Checking: Chase           300.00             0.00               0.00          100%             225.00            75.00

                    2.    Plus: value of property recoverable under avoiding powers:                            $            0.00
                    3.    Less: estimated Chapter 7 administrative expenses:                                    $            0.00
                    4.    Less: amounts payable to priority creditors:                                          $            0.00
                    5.    Equals: estimated amount payable to Class Four creditors if Chapter 7 filed           $            75.00

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                           (if negative, enter zero)
             C. Estimated payment to Class Four unsecured creditors under the Chapter 13 Plan plus
                any funds recovered from "other property" described in Part 4.1.D below.                          $            443.29

    Part 4    Properties and Future Earnings Subject to the Supervision and Control of the Trustee
     4.1     Future Earnings: The debtor submits to the supervision and control of the Trustee all or such portion of the
             debtor's future earnings or other future income as is necessary for the execution of the Plan, including:
             A. Future earnings which shall be paid to the trustee for a period of approximately 43 [#] months,
                beginning 3/12/20 [month/day/year] as follows:
             B.
              Number of payments                             Amount of payments                              Total
                                              43                                    600.00                                   25,800.00




                                                                 Total of monthly payments                                   25,800.00

             C. Amounts for the payment of Class Five post-petition claims included in above: $          [amount]
             D. Other property:

             [specify].
     4.2     Payments: The debtor agrees to make payments under the Plan as follows:
               Voluntary wage assignment to employer: Paid in the following manner: $    [amount] to be
                deducted     [time period, e.g., weekly, monthly, per pay period, etc.]. Employer's Name, address,
                telephone number:

             [name, address, telephone number].


             OR


               Direct payment: from debtor to Trustee

    Part 5    Class One - Claims Entitled to Priority Under 11 U.S.C. § 507
   Unless other provision is made in paragraph 10.3, each creditor in Class One shall be paid in full in deferred cash
   payments prior to the commencement of distributions to any other class (except that the payments to the Trustee
   shall be made by deduction from each payment made by the debtor to the Trustee) as follows:
     5.1     Allowed administrative expenses:
             A.    Trustee's compensation (10% of amounts paid by debtor under this Plan)                      $ 2,580.00
             B.    Attorney's Fees (estimated and subject to allowance)                                        $ 4,082.00
             C.    Attorney's Costs (estimated and subject to allowance)                                       $ 0.00
     5.2     Other priority claims to be paid in the order of distribution provided by 11 U.S.C. § 507 [if none, indicate]:
             -NONE-
             A. Domestic Support Obligations: A proof of claim must be timely filed in order for the Trustee to distribute
                amounts provided by the plan.
1. Priority support arrearage: The debtor owes past due support to            [name] in the total of $   [amount] that will be paid
   as follows:
                      [ ] Distributed by the Trustee pursuant to the terms of the Plan; or
                      [ ] The debtor is making monthly payments via a wage order [ ] or directly [ ] (reflected on Schedule I or
                      J) in the amount of $    [amount] to      . Of that monthly amount, $ [amount] is for current support
                      payments and $       [amount] is to pay the arrearage.

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              2. Other: For the duration of the plan, during the anniversary month of confirmation, the debtor shall file with
                 the Court and submit to the Trustee an update of the required information regarding Domestic Support
                 Obligations and the status of required payments.

          B. Taxes
               1.   Federal Taxes                                                                       $                   0.00
               2.   State Taxes                                                                         $                   0.00
               3.   Other Taxes
                                                                                                        $                   0.00
                   [Describe]
          C. Other Priority Claims
                                                                                                        $                   0.00
                    [Describe]

Part 6      Class Two - Defaults
    6.1   Modification of Rights: If debtor is proposing to modify the rights of creditors in Class Two, debtor must
          specifically serve such creditor in the manner specified in Fed. R. Bankr. P. 9014 and 7004.
    6.2   Class Two A [if none, indicate]: Claims set forth below are secured only by an interest in real property that is
          the debtor's principal residence located at [street address city, state, zip code]. Defaults shall be cured and
          regular payments shall be made:
    [ X ] None
    OR
              Creditor                 Total default      Interest   Total amount    No. of        Regular         Date of first
                                       amount to be         rate        to cure     months to      monthly          payment
                                          cured1                      arrearage       cure      payment to be
                                                                                                made directly
                                                                                                  to creditor
    6.3   Class Two B [if none, indicate]: Pursuant to 11 U.S.C. § 1322(b)(5), secured (other than claims secured only by
          an interest in real
          property that is the debtor's principal residence) or unsecured claims set forth below on which the last payment is
          due after the date on which the final payment under the Plan is due. Defaults shall be cured and regular payments
          shall be made:
    [ X ] None

    OR
            Creditor              Description of Total default Interest        Total      No. of      Regular      Date of first
                                    collateral    amount to      rate       amount to    months       monthly       payment
                                                  be cured2                    cure      to cure    payment to
                                                                            arrearage                be made
                                                                                                     directly to
                                                                                                      creditor
    6.4   Class Two C [if none, indicate]: Executory contracts and unexpired leases are rejected, except the following,
          which are assumed:
    [ X ] None

    OR




1
    The lesser of this amount or the amount specified in the Proof of Claim.
2
    The lesser of this amount or the amount specified in the Proof of Claim.
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   Other party to lease or         Property, if any, subject to the      Total amount to    No. of         Regular     Date of
          contract                       contract or lease                 cure, if any    months to       monthly      first
                                                                                             cure       payment to be payment
                                                                                                        made directly
                                                                                                          to creditor
          A. In the event that debtor rejects the lease or contract, creditor shall file a proof of claim or amended proof of
             claim reflecting the rejection of the lease or contract within 30 days of the entry of the order confirming this
             plan, failing which the claim may be barred.

Part 7      Class Three - All Other Allowed Secured Claims
Claims shall be divided into separate classes to which 11 U.S.C. § 506 shall or shall not apply as follows:
  7.1     Modification of Rights: If debtor is proposing to modify the rights of creditors in Class Three, debtor must
          specifically serve such creditor in the manner specified in Fed. R. Bankr. P. 9014 and 7004.
  7.2     Adequate Protection: If adequate protection payments are indicated, such payments will be made by the trustee
          to the creditors indicated above until such time that superior class creditors are paid in full. Any adequate
          protection payments made will be subtracted from the total amount payable. Unless otherwise provided, adequate
          protection payments will accrue from the date of filing but will not be made until the creditor has filed a timely
          proof of claim.
  7.3     Secured claims subject to 11 U.S.C. § 506 (Real Property): In accordance with Fed. R. Bankr. P. 3012, 7004
          and L.B.R. 3012-1, the debtor has filed and served a separate motion for valuation of collateral and determination
          of secured status under 11 U.S.C. § 506 as to the real property and claims listed in Part 1.3 of this plan and
          below. The plan is subject to the court’s order on the debtor’s motion. If the court grants the debtor’s motion, the
          creditor will have an unsecured claim in the amount of the debt as stated in any timely filed, allowed proof of
          claim, including such claims filed within thirty days from entry of an order determining secured status under Fed.
          R. Bankr. P. 3002(c)(1) and (3). The creditors listed in Part 1.3 and below shall retain the liens securing their
          claims until discharge under 11 U.S.C. § 1328, or, if the debtor is not eligible for a discharge, upon the debtor’s
          successful completion of all plan payments and the closing of the case.
          [X]      None

          OR
             Name of creditor                           Description of collateral              Proof of claim amount, if any
                                                      (pursuant to L.B.R. 3012-1)
  7.4     Secured claims subject to 11 U.S.C. § 506 [if none, indicate]: The debtor moves the court, through this
          chapter 13 plan, for a valuation of collateral and determination of secured status under 11 U.S.C. § 506 regarding
          the property and claims below. The creditors shall retain the liens securing their claims until discharge under 11
          U.S.C. § 1328 or payment in full under nonbankruptcy law.
          [X]      None

          OR
          A. The following creditors shall be paid the value of their interest in collateral. Any remaining portion of the
             allowed claim shall be treated as a general unsecured claim.
        Creditor          Description of collateral       Confirmation      Amount of      Interest    Adequate     Total amount
                                                            value of         debt as         rate      protection     payable
                                                           collateral       scheduled                  payment

          B. The following creditors shall be paid the remaining balance payable on the debt over the period required to
             pay the sum in full.
        Creditor          Description of collateral       Confirmation      Amount of      Interest    Adequate     Total amount
                                                            value of         debt as         rate      protection     payable
                                                           collateral       scheduled                  payment

  7.5     Secured claims to which 11 U.S.C. § 506 shall not apply (personal property) [if none, indicate]: The

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         following creditors shall retain the liens securing their claims, and they shall be paid the amount specified which
         represents the remaining balance payable on the debt over the period required to pay the sum in full:
         [ ]       None
         OR
                                                                                                    Adequate
                                                                     Amount of debt    Interest     protection      Total amount
           Creditor                Description of collateral          as scheduled       rate       payment           payable
Credit Acceptance Corp.*         2016 Dodge Dart 28001                     17,103.69   4.25%                173             18,696.71
                                 miles
  7.6    Property being surrendered [if none, indicate]: The debtor surrenders the following property securing an
         allowed secured claim to the holder of such claim:
         [ ]       None
         OR
Creditor                                       Property                                     Anticipated date of surrender
Conn Appliances Inc dba Conn's Homeplus TV                                                  Forthwith
  7.7    Relief from Stay: : Relief from the automatic stay and co-debtor stay to permit enforcement of the liens
         encumbering surrendered property shall be deemed granted by the Court at the time of confirmation of this Plan
         pursuant to 11 U.S.C. §§ 362(a) and 1301(a) and Fed. R. Bankr. P. 3015-1(d). With respect to property
         surrendered, no distribution on the creditor’s claim shall be made unless that creditor files a proof of claim or an
         amended proof of claim to take into account the surrender of the property.
Part 8     Class Four - Allowed Unsecured Claims Not Otherwise Referred To in the Plan
  8.1    Payment of Class Four Claims: Class Four Claims are provided for in an amount not less than the greater of:
         A. The amount necessary to meet the best interests of creditors pursuant to 11 U.S.C. § 1325(a)(4) as set forth
            in Part 3.2; or
         B. Total disposable income for the applicable commitment period defined by 11 U.S.C. § 1325(b)(1)-(4).
  8.2    Disposable Income: The monthly disposable income of $ [amount] has been calculated on Form 122C-1 or
         122C-2, as applicable. Total disposable income is $ [amount] which is the product of monthly disposable
         income of   [amount] times the applicable commitment period of   [time period].
  8.3    Classification of Claims:
         A.      Class Four claims are of one class and shall be paid a pro rata portion of all funds remaining after payment
               by the Trustee of all prior classes;
         OR
         B.    Class Four claims are divided into more than one class as follows:                       .
         [describe].
  8.4    Non-Dischargable Claims: A timely filed claim, found by the Court to be non-dischargeable pursuant to 11
         U.S.C. § 523(a)(2), (4), or (6), will share pro-rata in the distribution to Class Four. Collection of the balance is
         stayed until the case is dismissed, converted to a Chapter 7 or discharge enters, unless ordered otherwise.
Part 9     Class Five - Post-Petition Claims Allowed Under 11 U.S.C. § 1305 (if none indicate)
Post-petition claims allowed under 11 U.S.C. § 1305 shall be paid as follows:
OR
[ X ] None
Part 10 Other Provisions
  10.1 Direct Payments: Payment will be made directly to the creditor by the debtor(s) on the following claims:

                                                                                            Monthly Payment       No. of Months
                  Creditor                                 Collateral, if any                   Amount              to Payoff
-NONE-

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  10.2 Effective Date of Plan: The effective date of this Plan shall be the date of entry of the Order of Confirmation.
  10.3 Order of Distribution:
       A.     The amounts to be paid to the Class One creditors shall be paid in full, except that the chapter 13 trustee’s
          fee shall be paid up to, but not more than, the amount accrued on actual payments made to date. After
          payment of the Class One creditors, the amounts to be paid to cure the defaults of the Class Two A, Class
          Two B and Class Two C creditors shall be paid in full before distributions to creditors in Classes Three, Four,
          and Five (strike any portion of this sentence which is not applicable). The amounts to be paid to the Class
          Three creditors shall be paid in full before distributions to creditors in Classes Four and Five. Distributions
          under the plan to unsecured creditors will only be made to creditors whose claims are allowed and are timely
          filed pursuant to Fed. R. Bankr. P. 3002 and 3004 and after payments are made to Classes One, Two A, Two
          , Two C and Three above in the manner specified in Parts 5, 6, 7, and 8.1.

         B.      Distributions to classes of creditors shall be in accordance with the order set forth above, except:

               [exceptions]
  10.4 Motions to Void Liens under 11 U.S.C. § 522(f): In accordance with Fed. R. Bankr. P. 4003(d), the debtor
       intends to file or has filed, by separate motion served in accordance with Fed. R. Bankr. P. 7004, a motion to void
       lien pursuant to 11 U.S.C. § 522(f) as to the secured creditors listed in Part 1.4 and below:
               Creditor               Description of collateral (pursuant to   Date motion to avoid    Date of order granting
                                                 L.B.R. 4003-2)                     lien filed          motion or pending
-NONE-

  10.5 Student Loans:
         [X]       No Student Loans
         OR
         [ ] Student Loans are to be treated as an unsecured Class Four claim or as follows:

         [describe].
  10.6 Restitution:
         [X]       No Restitution
         [ ] The debtor owes restitution in the total amount of $ [amount] which is paid directly
             to    [name/description] in the amount of $ [amount] per month for a period of       [#] months; or as
             follows:


               [describe]
  10.7 Reinvestment of Property in debtor: All property of the estate shall vest in the debtor at the time of confirmation
       of this Plan.
  10.8 Insurance: Insurance in an amount to protect liens of creditors holding secured claims is currently in effect and
       will [ X ] will not [ ] [check one] be obtained and kept in force through the period of the Plan.
   Creditor to whom This                  Collateral covered              Coverage        Insurance company, policy number,
          Applies                                                          amount            and agent name, address and
                                                                                                  telephone number
Credit Acceptance Corp.*         2016 Dodge Dart 28001 miles               Full Coverage Progressive
Applicable policies will be endorsed to provide a clause making the applicable creditor a loss payee of the policy.
Part 11 Presumptively Reasonable Fee
The following election is made (check one box only):
           Counsel elects the Presumptively Reasonable Fee pursuant to L.B.R. 2016-3(a). Any objection to the
           allowance of the Presumptively Reasonable Fee must be made by the objection deadline to
           confirmation.


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         OR

             Counsel elects to file the Long Form Fee Application pursuant to L.B.R. 2016-3(b).
Part 12 Nonstandard Plan Provisions
Under Bankruptcy Rule 3015.1(e), nonstandard provisions must be set forth below. A nonstandard provision is a provision
not otherwise included in the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are
void.
[ X ] None
OR
[ ] The following plan provisions will be effective only if there is a check in the box “included” in Part 1.2


[describe].

Part 13 Signature of Debtor(s)' Attorney or Debtor (if unrepresented)
I certify that the wording and order of the provisions in this Chapter 13 Plan are identical to those contained in the Official
Form 3015-1.1, and that the plan contains no nonstandard provisions other than those set out in Part 12.

Dated:       February 12, 2020                                       By: /s/ Michael J. Watton, Esq., No. 46893
                                                                         Michael J. Watton, Esq., No. 46893
                                                                         Signature
                                                                     Bar Number (if applicable): 46893 CO
                                                                     Mailing Address: 301 West Wisconsin Avenue
                                                                                      5th Floor
                                                                                      Milwaukee, WI 53203
                                                                     Telephone number: (720) 590-4600
                                                                     Facsimile number: (303) 295-0242
                                                                     Email address: wlgdnvr@wattongroup.com


Part 14 Verification of Debtor

I declare under penalty of perjury that the foregoing is true and correct.

Dated:       February 12, 2020                                       By: /s/ Jackie Wayne Dugger
                                                                         Jackie Wayne Dugger
                                                                         Signature

                                                                     Mailing Address:     1613 Allison Street Apt #16 Lakewood CO
                                                                                          80214-0000
                                                                     Telephone number:
                                                                     Facsimile number:
                                                                     Email address: jdugger71@gmail.com




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